
191 S.E.2d 353 (1972)
281 N.C. 755
Mrs. Sue W. BASS, Widow, et al.,
v.
MOORESVILLE MILLS, Employer, Liberty Mutual Insurance Co., Carrier.
Supreme Court of North Carolina.
August 31, 1972.
Collier, Harris &amp; Homesley, Walter H. Jones, Jr., for Elizabeth I. Nance, Mother.
Hugh M. McAulay, J. C. Sedberry, for Sue Wright Bass.
No counsel contra for defendants.
Petition for writ of certiorari to review the decision of the North Carolina Court of Appeals, 189 S.E.2d 581. Denied.
